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                   United States Court of Appeals for the Second Circuit
                           Thurgood Marshall U.S. Courthouse
                                     40 Foley Square
                                   New York, NY 10007

DEBRA ANN LIVINGSTON                                         CATHERINE O'HAGAN WOLFE
CHIEF JUDGE                                                  CLERK OF COURT

Date: December 14, 2022                                      DC Docket #: 19-cv-6239
Docket #: 22-2993cv                                          DC Court: SDNY (NEW YORK
Short Title: Lexington Furniture Industries, Inc. v. The     CITY)
Lexington Company, AB                                        DC Judge: Castel
                                                             DC Judge: Wang



                         NOTICE OF CASE MANAGER CHANGE

The case manager assigned to this matter has been changed.

Inquiries regarding this case may be directed to 212-857-8543.
